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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,          )
                                       )
            Plaintiffs,                )
                                       )
vs.                                    )
                                           No. 1:17-cv-00365-LY
                                       )
GRANDE COMMUNICATIONS                  )
NETWORKS LLC,                          )
                                       )
            Defendant.
                                       )


         DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
          MOTION FOR SANCTIONS AND TO EXCLUDE DOCUMENTS
            PRODUCED AFTER THE FACT DISCOVERY DEADLINE
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                                        INTRODUCTION

       More than a month after the extended fact discovery deadline, Plaintiffs produced over

1,000 pages of additional materials relating to ownership of certain copyrights asserted in this

case. Plaintiffs made this production after receiving Grande’s expert report, which highlighted

significant deficiencies in Plaintiffs’ ownership evidence. Plaintiffs’ late production included a

potpourri of corporate formation documents, transfer of ownership agreements, and other

business materials spanning a period from 1965 until today. Then, three weeks later, Plaintiffs

made yet another late production—this time 2,300 additional pages of materials. All of these

late-produced materials should be excluded.1

       These materials were directly responsive to Grande’s discovery requests2 and should

have also been produced as evidence allegedly supporting Plaintiffs’ affirmative case. Plaintiffs

undoubtedly had possession of these documents when they initiated this lawsuit and must have

reviewed them as part of their Rule 11 pre-filing investigation into ownership of the copyrights.

       Earlier in the case, Plaintiffs vehemently opposed modification of the scheduling order by

representing to the Court that they had conducted multiple comprehensive searches for

documents and had satisfied their production obligations. Notwithstanding these assertions,

Plaintiffs failed to produce nearly 4,000 pages of ownership material until (1) after the fact

discovery cutoff, (2) after the parties exchanged expert reports, and (3) after the parties moved

for summary judgment. In the intervening period, Grande relied on Plaintiffs’ representations by


1 A party’s delayed knowledge of missing documents constitutes an exceptional circumstance
justifying the filing of a discovery motion more than one week after the discovery deadline
pursuant to Local Rule CV-16. See, e.g., Robles v. Texas Tech University Health Sciences
Center, No. 14-CV-00321-FM, 2015 WL 12671891, at *3 (W.D. Tex. June 12, 2015).
2 See Defs’ 1st Interrogs. to Sony Plaintiffs at No. 1 and Defs’ 1st RFPs to Sony Plaintiffs at Nos.
1-3 (Ex. 1) (these are in substance identical to those for the other two groups of Plaintiffs
(Warner and Universal); Defs’ 2nd Interrogs., Nos. 13-14 (ECF Nos. 112-1, 112-2, 112-3).


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devoting significant resources to analyzing Plaintiffs’ ownership materials3 and then retaining an

expert to opine on liability and damages using the record existing at the close of discovery.

Grande also structured its discovery and summary judgment strategies based on the existing

evidence regarding ownership of the asserted copyrights.

       Grande’s defense of this case would be fundamentally compromised if Plaintiffs were

permitted to lie in wait for Grande’s expert disclosures and summary judgment motion, and then

backfill the record after Grande pointed out the deficiencies in their evidence. It would also be

manifestly unjust to force Grande to redo its entire ownership analysis, after it has in good faith

based its expert reports and summary judgment arguments on the record as it existed at the close

of discovery.

       During the parties’ meet and confer on this issue, Plaintiffs were unable to provide any

legitimate justification for their failure to timely produce these materials. Plaintiffs’ only

explanation was that a corporate representative identified the documents during their deposition

preparation. This explanation defies credulity for a number of reasons and, in any event, does

not provide legitimate justification for Plaintiffs’ untimely production of materials that have been

in their possession since the inception of this case.

       In coordination with these untimely productions—and in an apparent failed attempt to

dull Grande’s prejudice—Plaintiffs recently cancelled almost all of their pending corporate

depositions. These depositions were already severely delayed as a result of Plaintiffs’ other




3 Plaintiffs produced tens of thousands of pages of registration and ownership materials en
masse, and then refused to answer interrogatories that sought to match those materials with
individual asserted copyrights. Instead, Plaintiffs forced Grande to perform the difficult task of
matching those materials. Now, Plaintiffs are attempting to supplement their production after
Grande did the work of identifying the holes in Plaintiffs’ case. This approach to litigation is
wholly inappropriate and should not be permitted by the Court.


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discovery violations. Further delaying these depositions only wreaks more prejudice on Grande.

       In sum, Plaintiffs cannot offer any reasonable factual or legal justification for failing to

timely produce these fundamental documents concerning ownership of the copyrights asserted in

this case. These two late productions severely prejudice Grande, who Plaintiffs seek to put in the

impossible position of relitigating significant portions of this case at the eleventh hour. The

Court should not condone Plaintiffs’ skate and shoot tactics and should prohibit Plaintiffs from

relying on these late-produced documents for any purpose in this case.

                                      BACKGROUND

       The Court held an Initial Pretrial Conference on January 3, 2018 during which it advised

the parties that trial would occur in January 2019 and that its busy docket would make obtaining

a continuance “almost impossible.” See ECF No. 71 at 6:19-24. The Court thereafter issued its

Scheduling Order, which set the fact discovery deadline as March 23, 2018. See ECF No. 66.

       On September 28, 2017, Defendants served their first set of discovery requests, which

included interrogatories and requests for the production of all evidence regarding Plaintiffs’

ownership of the asserted copyrights. See, e.g., Defs’ 1st Interrogs. to Sony Plaintiffs at No. 1

and Defs’ 1st RFPs to Sony Plaintiffs at Nos. 1-3 (Ex. 1).

       On November 3, 2017, Plaintiffs made a production of copyright registration and

ownership materials. In an attempt to better understand Plaintiffs’ ownership evidence, Grande

served follow-up interrogatories that sought to match specific ownership documents to the




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asserted copyrights. Plaintiffs refused to meaningfully respond to those interrogatories.4 See

Defs’ 2nd Interrogs., Nos. 13-14 (ECF Nos. 112-1, 112-2, 112-3).

       In the months that followed, Grande was forced to repeatedly extend the fact discovery

deadline to accommodate Plaintiffs’ dilatory discovery practices. These delays became so

significant that, after shifting the discovery deadline a number of times, Grande filed a motion to

amend the case schedule and continue the January 2019 trial setting. See ECF No. 79. The

Court denied that request. Thereafter, the parties agreed to once again postpone the close of fact

discovery, this time until July 6, 2018. The parties also agreed to delay opening expert reports

for Plaintiffs and Grande until July 13, 2018 and August 3, 2018, respectively. These dates were

extended as far as possible, while still respecting the Court’s stated need for 90 to 120 days to

rule on dispositive motions and its firm trial date.

       Plaintiffs argued against extending the trial date by representing that their productions

were essentially complete: “Plaintiffs are undertaking a substantial effort to locate any additional

non-privileged documents, even though Plaintiffs believe (and have communicated on multiple

times to Grande) that it is unlikely there will be many, if any, such documents of relevance.”

Plaintiffs’ Opp. to Defendant’s Mot. to Am. Sched. Ord. at 3-4, ECF No. 81; id. at 2 (“Plaintiffs

anticipate their production will be substantially complete by the end of [April 2018].”); id. at 6

(“Plaintiffs and Rightscorp have produced a large volume of important documents already, and

expect to complete their productions [April 2018].”).

       Relying on these representations, Grande proceeded with expert discovery. On August 3,



4 It is not clear whether Plaintiffs refused to provide this information as an exercise in
obfuscation or because Plaintiffs had not itself verified ownership of the copyrights asserted in
this case. Either way, Plaintiffs’ failure to respond forced Grande to expend significant resources
conducting its own independent assessment of Plaintiffs’ thousands of pages of ownership
evidence.


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2018, Grande served its rebuttal expert report on damages.5 In that Report, Grande’s expert, Mr.

Kemmerer, explained that Plaintiffs could not prove ownership of 361 of their asserted

copyrights. Kemmerer Report, Appendix D, ¶ 25 (ECF No. 147-7). Shortly after Grande served

this Report, Plaintiffs’ counsel aggressively and urgently pursued its de-designation so they

could share its contents with in-house counsel.6 At the time, this urgency was a mystery to

Grande’s counsel who explained that they were busy finalizing Grande’s motion for summary

judgment and preparing for depositions that week.7 On August 10, 2018, Plaintiffs threatened to

call the Court if Grande did not immediately provide a redacted version of the Kemmerer Report.

Email from P. O’Beirne, Aug. 10, 2018 (Ex. 3). Grande’s counsel stepped away from its other

activities and served a redacted version of the Kemmerer Report on the morning of August 10th.

       Less than eight hours after Grande served the redacted Report—and presumably now

with legitimate permission to disclose the findings of that Report to their in-house counsel—

Plaintiffs’ counsel made its first late production of ownership materials. Those materials dated

as far back as the 1960s and comprise a myriad of corporate agreements including business

formation documents, contribution agreements, fictitious name statements, merger agreements,

stock certificates and operating agreements. Email from K. Attridge, Aug. 10, 2018 (Ex. 4); see

also Compilation of Excerpts from Plts’ Aug. 10, 2018 Production (Ex. 5).


5 Plaintiffs’ reports on damages did not even attempt to assess Plaintiffs’ ownership evidence.
Instead, Plaintiffs’ damage reports are improperly based on all infringement notices ever
received by Grande—the vast majority of which do not pertain to the copyrights asserted in this
case. For at least this reason, Grande will be moving to exclude those opinions under Rule 702
after expert depositions are completed.
6 During this period, Plaintiffs’ counsel threatened to unilaterally de-designate the Kemmerer
Report and share its contents with Plaintiffs in direct violation of the Court’s protective order.
Email between R. Brophy and R. Gilmore, Aug. 6, 2018 (Ex. 2).
7 Grande served its Motion for summary judgement on August 10, 2018, the same day it served
the redacted Kemmerer Report and the same day Plaintiffs produced their first untimely set of
1,000 pages of additional ownership evidence.


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       Unaware of the contents of this production, that same day Grande also filed its motion for

summary judgment. In that motion, Grande moved for summary judgment in part based on

Plaintiffs’ failure to produce ownership evidence for many of the asserted copyrights.

       On August 11, 2018, Grande asked Plaintiffs to provide an explanation for their grossly

late document production. Email from R. Brophy, Aug. 11, 2018 (Ex. 6). Plaintiffs only

response was that “[d]uring the course of preparing our 30(b)(6) witnesses we identified

additional information responsive to Defendants’ requests for documents.” Email from R.

Gilmore, Aug. 14, 2018 (Ex. 7). That explanation did not meaningfully justify the delay, and

Plaintiffs’ counsel similarly failed to provide any meaningful justification during subsequent

meet and confer sessions. Moreover, despite suggesting that these materials had been uncovered

during corporate witness deposition preparation, there were no looming corporate depositions

and Plaintiffs’ counsel was unable to name the specific witness who had identified the late-

produced materials. Even if Plaintiffs were able to identify such a person, doing so would not

excuse Plaintiffs’ clear obligation to timely produce its own ownership evidence in discovery.

       On August 17, 2018, shortly after Plaintiffs made their first late production, Plaintiffs

cancelled the corporate deposition scheduled to take place two days later, which Grande

expected to address, among other things, copyright ownership issues. Email from R. Gilmore,

Aug. 17, 2018 (Ex. 8). On August 23, 2018, Plaintiffs’ counsel cancelled yet another corporate

deposition. Email from R. Gilmore, Aug. 23, 2018 (Ex. 9). Again on August 28, 2018,

Plaintiffs’ counsel cancelled another corporate deposition. Email from R. Gilmore, Aug. 28,

2018 (Ex. 10). As a result of these cancellations, Plaintiffs have only produced witnesses on one

or two of the nearly fifty topics Grande requested.

       The day after Grande received the last of these cancellation notices, Plaintiffs produced




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yet another huge collection of untimely ownership and registration materials. This second set of

materials was over twice the size of its first production—over 2,300 page—and contained a

similar hodgepodge of ownership materials including contribution agreements, fictitious name

registrations, merger agreements, articles of incorporation, stock certificates, operating

agreements and copyright registrations. See generally Compilation of Excerpts from Plts’ Aug.

29, 2018 Production (Ex. 11).

        All told, Plaintiffs have now produced almost 4,000 pages of complicated ownership

documents after the close of fact discovery and have also cancelled corporate depositions for

almost every one of Grande’s 30(b)(6) topics.

                                       LEGAL STANDARD

        The Federal Rules require litigants to conduct discovery in a way that “make[s] a trial

less a game of blind man’s bluff and more a fair contest with the basic issues and facts disclosed

to the fullest practicable extent.” Rozier v. Ford Motor Co., 573 F.2d 1332, 1346 (5th Cir. 1978).

        “A failure to disclose under Rule 37 includes not only spoliation of evidence but also a

party’s untimely production of documents and information required to be produced.” Morin v.

Chevron U.S.A. Inc., No. 11-CV-00045-NJB-DEK, 2012 WL 2116368, at *6 (E.D. La. Jun. 11,

2012). “If a party fails to provide information or identify a witness as required by Rule 26(a) or

(e), the party is not allowed to use that information or witness to supply evidence on a motion, at

a hearing, or at a trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ.

P. 37(c)(1).

        “Exclusion of the evidence [under Rule 37(c)(1)] is mandatory and automatic unless the

party demonstrates substantial justification or harmlessness.” Red Dot Bldgs. v. Jacobs

Technology, Inc., No. 11-CV-01142-CJB-ALC, 2012 WL 2061904, at *3 (E.D. La. June 7,




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2012) (citing Caskey v. Man Roland, Inc., 83 F.3d 418 (5th Cir. 1996)); see also Caskey v. Man

Roland, Inc., 83 F.3d 418 (5th Cir. 1996) (finding the district court’s failure to apply sanctions

under Rule 37(c)(1) to be an abuse of discretion).

       The Fifth Circuit applies the following four-factor test to determine whether the late

production of material is substantially justified or harmless: “(1) the explanation for the party’s

failure to disclose; (2) the importance of the evidence; (3) the potential prejudice to the opposing

party from including the evidence; and (4) the availability of a continuance.” Primrose

Operating Co. v. Nat’l Am. Ins. Co., 382 F.3d 546, 563-64 (5th Cir. 2004).

                                           ARGUMENT

       Plaintiffs cannot offer any legitimate justification for failing to produce their ownership

evidence during fact discovery. These materials are part of Plaintiffs’ affirmative case, should

have been reviewed as part of their Rule 11 pre-filing investigation, and are directly responsive

to discovery requests that Grande served a year ago. Instead of timely producing these materials,

Plaintiffs represented to the Court that their productions were complete and simultaneously

refused to answer interrogatories seeking to link ownership documents with asserted copyrights.8

       As discussed below, allowing Plaintiffs to serve additional registration and ownership

materials at this late stage of the case would severely prejudice Grande in a number of significant

and irreparable ways.9 Accordingly, Plaintiffs’ late-produced materials should be excluded.




8 Grande was ultimately forced to move to compel answers to these interrogatories. See Defs’
2nd Interrogs. at 13-14 (ECF Nos. 112-1, 112-2, 112-3); see also ECF No. 110. Plaintiffs also
failed to amend any of their interrogatory responses at the close of fact discovery to identify
these materials. This provides a separate basis for excluding these materials from trial.
9 It is Plaintiffs’ burden to show that both of their late disclosures were harmless. Davidson v.
AT&T Mobility, LLC, No. 17-CV-00006-D, 2018 WL 1609756, at *1 (N.D. Tex. Apr. 3, 2018).


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I.     PLAINTIFFS’ UNTIMELY PRODUCTION IS NOT SUBSTANTIALLY
       JUSTIFIED OR HARMLESS

       Plaintiffs’ late production lacks any plausible justification and would cause significant

prejudice to Grande. The Court should exclude Plaintiffs’ late-produced materials.

       A.      Plaintiffs have no justification for failing to timely produce these materials.

       Plaintiffs cannot offer any reasonable justification for their late production of ownership

materials. These materials have been in Plaintiffs’ possession since the beginning of this case,

should have been reviewed as part of any reasonable Rule 11 pre-filing investigation, and were

directly responsive to numerous of Grande’s discovery requests.

       Plaintiffs’ proffered justification, that one of their corporate representatives identified

these documents while preparing for deposition, is wholly implausible. No depositions were

looming at the time of Plaintiffs purported preparation session and Plaintiffs could not name the

individual who allegedly identified the late-produced materials in the parties’ meet and confer.

       Moreover, Plaintiffs cannot claim ignorance as a meaningful justification for failing to

produce materials in their own possession and necessary to their affirmative case. See, e.g.,

Albemarle Corp. v. Chemtura Corp., 251 F.R.D. 204, 207 (M.D. La. 2008) (granting sanctions,

noting “[t]hese documents [produced weeks after the close of discovery] were created and/or

maintained by the defendant's employees. If the defendants were not aware of the existence of

these documents, their ignorance was entirely self-imposed. Defendants put on blinders and now

seek to excuse their conduct because they cannot see.”).

       Finally, each of the belatedly-produced documents is directly responsive to the discovery

requests Grande served a year ago. Plaintiffs had a duty to conduct a comprehensive search for

these documents and to produce them in a timely manner. Plaintiffs represented to the Court that

they had done just that. Plaintiffs’ Opp. to Defendant’s Mot. to Am. Sched. Ord. at 3-4, ECF No.



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81 at 2, 6. Plaintiffs therefore have no justification for failing to produce these clearly responsive

materials early in the discovery process. Morin, 2012 WL 2116368, at *7 (“Once a proper

discovery request has been seasonably propounded, we will not allow a party sentiently to avoid

its obligations by filing misleading or evasive responses, or by failing to examine records within

its control.”) (citation omitted).

        B.      The importance of Plaintiffs’ belatedly produced documents is outweighed
                by Plaintiffs’ failure to timely produce them.

        If Plaintiffs considered these documents necessary to their case-in-chief, they should have

included them in their original production of ownership and registration materials. Plaintiffs

elected not to, suggesting these materials were unnecessary to their case. It is wholly

inappropriate for Plaintiffs to attempt to backfill evidence into their case after Grande submitted

its expert report and summary judgment motion identifying the defects in their case.

        Even if Plaintiffs now claim that these ownership materials are vital to their case, the

importance of these late-disclosed documents, standing alone, “cannot singularly override the

enforcement of local rules and scheduling orders.” Red Dot Bldgs., 2012 WL 2061904, at 5*

(quoting Rushing v. Kansas City Southern Ry. Co., 185 F.3d 496, 509 (5th Cir. 1999)). Grande

sought production of these documents a year ago and Plaintiffs represented they had conducted

multiple exhaustive searches for responsive documents. It is not Grande’s job to litigate

Plaintiffs’ case, and Plaintiffs should be accountable for their failure to produce responsive,

relevant documents.10




10 It is particularly ironic that Plaintiffs failed to produce documents evidencing their ownership
of the asserted copyrights given the assertions they make in this case. Plaintiffs claim that
Grande should take at face value the allegations of infringement it received from Rightscorp
and—without hesitation—terminate its subscribers. Yet, Plaintiffs cannot even resolve
ownership of their own copyrights with the help of a law firm specifically tasked with asserting


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       C.      Plaintiffs’ untimely production of documents would significantly prejudice
               Grande.

       Relying on the document production existing at the close of discovery, and on Plaintiffs’

various representations to the Court, Grande devoted significant resources and hundreds of hours

of attorney time to investigating ownership of the copyrights in suit. This analysis was

performed for each copyright individually, required assessment of multiple linking documents

and agreements spanning decades, and involved the detailed review of a vast array of

registrations, assignments, corporate mergers, asset transfers and operating agreements.

       In addition to counsel’s detailed analysis, Grande also retained an expert, John

Kemmerer, to assess and report on the legitimacy of Plaintiffs’ ownership evidence. This

extensive work culminated in the Kemmerer Report served on August 3, 2018, which

undoubtedly spurred Plaintiffs’ recent attempt to produce additional ownership materials. All of

the foregoing work would be undone11 if Plaintiffs were permitted to dump thousands of

additional pages of complicated ownership material on Grande well after the close of fact

discovery. See, e.g., Promethean Insulation Technology LLC v. Sealed Air Corporation, No. 13-

CV-01113-JRG, 2015 WL 11027038, at *2 (E.D. Tex. Oct. 13, 2015) (plaintiff was prejudiced

because it was deprived of the opportunity to have its expert opine about late-disclosed

documents); Godo Kaisha IP Bridge 1 v. Broadcom Limited, No. 16-CV-00134-JRG-RSP, 2017




those copyrights in litigation. If Plaintiffs cannot prove ownership of their own copyrights based
on the production of tens of thousands of pages of registration and ownership materials, why
should Grande be charged with knowledge of that ownership based on the receipt of a single-
page email from Rightscorp?
11 A preliminary review of Plaintiffs’ recent productions indicates that many of the new
materials do not even name Plaintiffs in this lawsuit and would require a detailed investigation
into how these puzzle pieces fit into the already complicated ownership mosaic painted by
Plaintiffs’ other ownership and registration documents. See generally Compilation of Excerpts
from Plts’ Aug. 10 and 29, 2018 Productions (Exs. 5 and 11).


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WL 2869344, at *2 (E.D. Tex. Apr. 20, 2017) (answers to interrogatories provided after expert

reports had been served and fact discovery closed resulted in “substantial” prejudice).

       Grande has also already developed and executed a strategy for fact discovery, summary

judgment, and defense at trial based on the state of Plaintiffs’ ownership evidence. Fact

discovery is now closed and Grande’s summary judgment motion was filed the same day as

Plaintiffs’ first late production and three weeks before Plaintiffs’ second late production.

       Any of one these issues taken alone would demonstrate substantial prejudice to Grande.

When combined, and considered in the context of the Court’s firm trial setting, Plaintiffs’

discovery violations present severe and irreparable prejudice to Grande that mandates exclusion

of Plaintiffs’ untimely-disclosed evidence.

       D.      A continuance is not available.

       The Court has already made clear that continuing the trial date in this matter is not an

option. See ECF No. 82. Grande was unable to extend the trial date based on Plaintiffs’

discovery violations. In fact, Plaintiffs argued vehemently against that extension in its

responsive briefing. A similar request by Plaintiffs now, based on its own discovery violations,

would be wholly improper. Granting a continuance would also not undo the significant prejudice

to Grande resulting from Plaintiffs’ late disclosures. Grande has already incurred significant fees

and expert costs to evaluate Plaintiffs’ ownership evidence. Forcing Grande to conduct yet

another exhaustive review of Plaintiffs’ ownership documents—due entirely to Plaintiffs’ blatant

failure to comply with its discovery obligations—would only further harm Grande.

                                         CONCLUSION

       The Court should grant Grande’s Motion for Sanctions, preclude Plaintiffs from relying

on its late-produced documents, and award Grande its fees for preparing this Motion.




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Dated: August 31, 2018
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 31, 2018, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the



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Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                /s/ Richard L. Brophy
                                                Richard L. Brophy




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